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 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
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11   JORGE ALEJANDRO ROJAS,                          No. CV 22-5742 PA (SKx)

12                 Plaintiff,                        JUDGMENT
            v.
13
     OWNER OF TELEPHONE NUMBER
14   424-234-2076, et al.,

15                 Defendants.

16
            In accordance with the Court’s May 12, 2023, Order granting the Motion for Default
17
     Judgment filed by Plaintiff Jorge Alejandro Rojas (“Plaintiff”),
18
            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
19
            1.     Plaintiff shall have judgment in his favor and against Defendant CSC Business
20
     Solutions LLC (“Defendant”);
21
            2.     Defendant shall pay to Plaintiff the total amount of $500.00 in statutory
22
     damages for one violation of 47 U.S.C. § 227(b)(1);
23
            3.     Plaintiff shall have his costs of suit; and
24
            4.     Plaintiff is entitled to interest on the amount of the Judgment at the statutory
25
     rate pursuant to 28 U.S.C. § 1961(a).
26
27
     DATED: May 12, 2022
28                                                       __________________________________
                                                                    Percy Anderson
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 1        United States District Judge

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